

Matter of Williamsviile Residents Opposed To Blocher Redevelopment, LLC v Village of Williamsville Planning &amp; Architectural Review Bd. (2022 NY Slip Op 07422)





Matter of Williamsviile Residents Opposed To Blocher Redevelopment, LLC v Village of Williamsville Planning &amp; Architectural Review Bd.


2022 NY Slip Op 07422


Decided on December 23, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 23, 2022

PRESENT: SMITH, J.P., LINDLEY, CURRAN, AND WINSLOW, JJ. (Filed Dec. 23, 2022.) 


MOTION NO. (634/22) CA 21-01052.

[*1]IN THE MATTER OF WILLIAMSVIILE RESIDENTS OPPOSED TO BLOCHER REDEVELOPMENT, LLC, CHRISTINE HUNT, DANIEL HUNT, RICHARD CUMMINGS, KATHLEEN CUMMINGS, REBECCA WALSER, RUDOLPH HEIN, WILLIAM HEIN, DIANE HEIN AND VICTORIA D'ANGELO, PETITIONERS-APPELLANTS, 
vVILLAGE OF WILLIAMSVILLE PLANNING AND ARCHITECTURAL REVIEW BOARD, VILLAGE OF WILLIAMSVILLE, NEW YORK, THE BLOCHER HOMES, INC., AND PEOPLE, INC., RESPONDENTS-RESPONDENTS.



MEMORANDUM AND ORDER
Motion for reargument denied.








